76 F.3d 377
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Danny Lamont YARBOROUGH, Plaintiff--Appellant,v.Doctor LE;  Joseph Lofton;  S.D. Stewart, Defendants--Appellees.Danny Lamont YARBOROUGH, Plaintiff--Appellant,v.Joseph LOFTON;  Ted Smiley;  Lynn Phillips;  Finesse G.Couch, Defendants--Appellees.
    Nos. 95-7643, 95-7682.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 11, 1996Decided Jan. 25, 1996
    
      Appeals from the United States District Court for the Eastern District of North Carolina, at Raleigh.   Malcolm J. Howard, District Judge.  (CA-95-774-5-H, CA-95-834-CT-H)
      Danny Lamont Yarborough, Appellant Pro Se.
      E.D.N.C.
      AFFIRMED.
      Before RUSSELL, HALL and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      In these consolidated cases Appellant appeals from the district court's orders denying relief on his 42 U.S.C. § 1983 (1988) complaints.   We have reviewed the records and the district court's opinions and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Yarborough v. Le, No. CA-95-774-5-H;  Yarborough v. Lofton, No. CA-95-834-CT-H (E.D.N.C., Sept. 25, 1995;  Oct. 10, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    